      Case 1:21-cr-00239-JPB-JKL     Document 153      Filed 11/22/24    Page 1 of 5




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    JOVON MONTELL HOLLOWELL,

               Movant,                              CRIMINAL ACTION NO.
                                                    1:21-CR-0239-JPB-JKL-1
         v.
                                                       CIVIL ACTION NO.
                                                        1:24-CV-3924-JPB
    UNITED STATES OF AMERICA,

               Respondent.

                                       ORDER

        This matter is before the Court on the Final Report and Recommendation

(“R&R”), [Doc. 149], in which United States Magistrate Judge John K. Larkins III

recommends that the pending 28 U.S.C. § 2255 Motion to Vacate, [Doc. 147], be

denied. Movant Jovon Montell Hollowell (“Movant”) filed his objections to the

R&R on October 7, 2024, [Doc. 151], and filed a supplement to his objections on

October 25, 2024 (“Supplemental Objections”), [Doc. 152]. 1 This Court finds as

follows:



1
 The R&R was entered on September 19, 2024, [Doc. 149], and Movant filed his
Supplemental Objections on October 25, 2024, [Doc. 152]. Although Movant’s
Supplemental Objections were untimely, the Court will still consider them. See Fed. R.
Civ. P. 72(b) (noting that a party must file objections to a Report and Recommendation
within fourteen days of being served with a copy of the Report & Recommendation);
Fed. R. Civ. P. 6(d) (“When a party may or must act within a specified time after being
served and service is made . . . [by mail], 3 days are added after the period would
otherwise expire.”); see also Willis v. Bowman, No. 23-cv-40, 2023 WL 3337247, at *1
      Case 1:21-cr-00239-JPB-JKL      Document 153      Filed 11/22/24    Page 2 of 5




I.      BACKGROUND

        In his § 2255 Motion to Vacate, Movant challenges his 2022 conviction and

sentence in this Court for one count of dealing firearms without a license and two

counts of making false statements to a federally licensed firearms dealer. [Doc.

110]. The Magistrate Judge recommends that the Motion to Vacate be denied

pursuant to Rule 4 2 because: (1) several of Movant’s claims for relief have already

been decided against him on direct appeal; and (2) the remainder of his claims are

procedurally barred, and Movant has not shown cause and prejudice 3 or a

miscarriage of justice to lift the procedural bar. [Doc. 149, pp. 3–6]. The

Magistrate Judge further recommends that Movant be denied a certificate of

appealability.

II.     LEGAL STANDARD

        A district judge has broad discretion to accept, reject or modify a magistrate

judge’s proposed findings and recommendations. United States v. Raddatz, 447

U.S. 667, 680 (1980). Pursuant to 28 U.S.C. § 636(b)(1), the Court reviews any


(S.D. Ga. May 10, 2023) (“The Court has no obligation to consider untimely
objections.”).
2
  Rule 4 of the Rules Governing Section 2255 Proceedings for the United States District
Courts. Under Rule 4, a court must dismiss a § 2255 motion “[i]f it plainly appears from
the motion, any attached exhibits, and the record of prior proceedings that the moving
party is not entitled to relief.” 28 U.S.C. foll. § 2255, Rule 4(b).
3
  Movant proceeded pro se at trial and on appeal, and thus, he has no viable claim of
ineffective assistance of counsel.

                                            2
       Case 1:21-cr-00239-JPB-JKL     Document 153     Filed 11/22/24   Page 3 of 5




portion of the Report and Recommendation that is the subject of a proper objection

de novo and any non-objected-to portion under a “clearly erroneous” standard.

Notably, a party objecting to a recommendation “must specifically identify those

findings objected to. Frivolous, conclusive, or general objections need not be

considered by the district court.” Marsden v. Moore, 847 F.2d 1536, 1548 (11th

Cir. 1988) (citation omitted). Placing this burden on the objecting party “facilitates

the opportunity for district judges to spend more time on matters actually contested

and produces a result compatible with the purposes of the Magistrates Act.”

United States v. Schultz, 565 F.3d 1353, 1361 (11th Cir. 2009).

III.     DISCUSSION

         Movant’s objections merely reiterate his claims for relief regarding this

Court’s purported lack of jurisdiction and his immunity from criminal prosecution

because of his membership in a Native American tribe. For instance, Movant has

not argued that the Magistrate Judge erred in determining that his claims are barred

under the doctrine of res judicata or are procedurally defaulted. As such,

Movant’s objections are without merit. See, e.g., Jones v. Ford, No. 20-CV-00422,

2023 WL 1790082, at *1 (M.D. Ga. Jan. 4, 2023) (“Putting forward the same

arguments—particularly in a louder ‘voice’ couched in more dramatic language—

is not sufficient to warrant the Court’s consideration.”); Albu v. Home Depot, Inc.,

No. 15-CV-00412, 2017 WL 10752731, at *2 (N.D. Ga. Mar. 20, 2017) (finding



                                            3
    Case 1:21-cr-00239-JPB-JKL      Document 153      Filed 11/22/24    Page 4 of 5




the plaintiffs’ objections were without merit where they relied “primarily on the

same arguments they made to the Magistrate Judge, who exhaustively addressed

these arguments and both the persuasive and binding authority on the matter”);

Holland v. Colvin, No. 14-CV-194, 2015 WL 1245189, at *3 (N.D. Ala. Mar. 18,

2015) (reasoning that objections which merely restate arguments previously

presented are general in nature and insufficient to alert the court to alleged errors

of the magistrate judge). Moreover, to the extent that Movant raises arguments in

his objections that were not presented before the Magistrate Judge, the Court

declines to consider such arguments. See Williams v. McNeil, 557 F.3d 1287,

1291 (11th Cir. 2009) (finding that a district court did not abuse its discretion by

refusing to consider arguments not presented to the magistrate judge).

      Accordingly, Movant’s objections are OVERRULED. Further, this Court

has reviewed the record and determines that the Magistrate Judge is correct that

Movant’s § 2255 Motion to Vacate must be DENIED.

IV. Conclusion

      Accordingly, the R&R, [Doc. 149], is ADOPTED as the order of the Court,

the pending § 2255 motion, [Doc. 147], is DENIED and a certificate of

appealability is DENIED. Movant’s other pending motions, [Doc. 145]; [Doc.

146], are DENIED as moot. The Clerk is DIRECTED to close Case Number

1:24-CV-03924-JPB.



                                           4
Case 1:21-cr-00239-JPB-JKL   Document 153   Filed 11/22/24   Page 5 of 5




  SO ORDERED this 22nd day of November, 2024.


                                ________________________________
                                J. P. BOULEE
                                United States District Judge




                                  5
